                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for want of prosecution.
A case management conference was scheduled on January 23, 2008, to consider Plaintiff's appeal. On December 28, 2007, notice of the case management conference was sent to Plaintiff at 443 Courtney Street, Ashland OR 97520, which was the address Plaintiff provided to the court. The notice was not returned as undeliverable. The court phoned the number provided, but Plaintiff did not appear at the case management conference. Plaintiff's husband stated that she was not available to take the call.
On January 24, 2008, the court sent Plaintiff a letter, which explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter advised that if Plaintiff did not provide a written explanation by February 7, 2008, for her failure to appear, the court would dismiss the appeal. As of this date, Plaintiff has not contacted the court. Under such circumstances, the court finds the appeal must be dismissed for want of prosecution. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that this matter be dismissed.
Dated this ___ day of February 2008.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Dan Robinson on February 11,2008. The Court filed and entered this document on February 11,2008. *Page 1 